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IN THE MATTER oF THE * . mm$h”’§.§?‘£.`£$@m
SEARCH OF THE PREMISES OF * mr umw ]5' “E;WD !_
Haven Corporation and Eagle Creek * l g 157 0 f ' 5 nEPW
Fuel Services, LLC * l
6624 and 6630 Quad Avenue *
Baltimore, Maryland *

AFFIDAVIT IN SUPPORT OF APPLICATION
FOR SEARCH WARRANT

I, Zachary Thomas, being first duly sworn, hereby depose and state as follows:
BACKGROUND

l. This affidavit has been prepared in support of an application for a Warrant to search
and seize evidence from a business location at 6624 - 6630 Quad Avenue, Baltimore, Mar.yland,
as more specifically described in Attachment A hereto, and referred to herein as “the premises.”
As Will be more fully explained herein, two different businesses - Haven Corporation (hereinafter
“Haveri”), and Eagle Creek Fuel Services, LLC (hereinaf`ter “Eagle Creek”) - have operated within
the space defined as “the premises.” This application is part of an ongoing criminal investigation j
of federal and state laws conducted by the U.S. EPA-CID and the Maryland Attorney General’s
Office. l

2. Your affiant is a criminal investigator With the U.S. Environmental Protection
Agency Criminal Investigation Division (EPA-CID) assigned to the Washington D.C. Resident
Office. l have served in this capacity since 2018. Prior`to my assignment with EPA-CID, l spent
approximately 1 year with the EPA Protective Services Detail (PSD) as a Special Agent, and
approximately 9 years with the United States Secret Service (USSS), also as a Special Agent. l
have also participated in searches, arrest and seizure warrants involving a variety of offenses.

3. The facts set forth in this affidavit are based on my personal knowledge, knowledge
obtained during this investigation from other individuals, including other law enforcement officers,
my review of relevant documents and records, communications with others who have personal

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knowledge of the events and circumstances described herein, and information gained through my
training and experience Because this affidavit is submitted for the limited purpose of establishing
probable cause in support of the application for search Warrants, it does not set forth every fact
learned during the course of this investigation

4. Based on the information developed, I respectfully submit there is probable cause.
to believe that Haven and Eagle Creek illegally stored hazardous wastes from their operations at
the premises. The storage of hazardous wastes without permit is prohibited under Resource
Conservation and Recovery Act, 42 U.S.C. § 6928(d)(2)(A). These acts appear to be in violation
of this statute. l

5. There is probable cause to believe that evidence, fruits, and/or instrumentalities of
these crimes, such as stored waste, hazardous chemicals, business records and computer files
showing purchases or transactions, are located at the premises. These chemicals, files and records
appear to show that hazardous wastes were illegally stored by Haven and Eagle Creek on the
premises

COMPUTER AND DOCUMENTARY EVI])ENCE

6. Your Affiant knows that businesses regularly dealing with chemicals and biofuels
usually maintain files at their place of business and/or'residence including, among others, chemical
purchases, sale orders, waste manifest, correspondence, records of payments and billing
inforrnation. Your Affiant also knows that businesses typically maintain accounting and
bookkeeping re,cords, including ledgers, books and records, banking records, and account
statements

7. Your Affiant knows that it is rare for businesses to operate without the use of a

computer to store information related to the business, to store accounting and bookkeeping records,

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and/or to electronically communicate with brokers, vendors, clients, and other companies Your
Affiant also knows that small business owners often maintain business records at their office.

LEGAL BACKGROUND
HAZARDOUS WASTES REGULATION

8. The Resource Recovery and Conservation Act (RCRA) is the federal statute that
regulates hazardous Wastes. 42 U.S.C. §§ 6901-6992k. Its objectives include, among other things,
protecting human health and the environment through stringent regulation of the generation,
. transportation, storage, treatment, and disposal of hazardous wastes. RCRA and the regulations
promulgated thereunder accomplish these objectives by establishing a “cradle-to-grave”
regulatory program that governs and tracks hazardous waste from the point of generation until its
final disposition. 40 C.F.R.`Parts 260-282.

9. RCRA defines a hazardous waste, in relevant part, as “a solid waste...which
because of its quantity, concentration, or physical, chemical or infectious characteristics may (A)
cause, or significantly contribute to an increase in mortality or an increase in serious irreversible,
or incapacitating reversible, illness, or (B) pose a substantial present or potential hazard to human
health or the environment when improperly treated, stored, transported, or disposed of, or
otherwise managed."’ 42 U.S.C. § 6903(5). v

10. RCRA defines solid waste, in relevant part, as “any discarded material
including solid, liquid, semisolid, or contained gaseous material resulting from industrial
operations....” 42 U.S.C. § 6903(27). A solid waste is further defined, among other things, as
any material which is discarded by being abandoned 40 C.F.R. § 261.2(b)(2). A discarded
material includes, among other things, a material that is “[a]ccumulated, stored, or treated (but not
recycled) before or in lieu of being abandoned by being disposed of, burned or incinerated.” M.

' §261.2(b)(3).

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11. Solid waste is identified under RCRA as hazardous waste in two ways. First, a
waste may be Specifically listed as a hazardous waste. 40 C.F.R. §§ 261 .30-261.38. The “listed”
hazardous wastes are described as either a particular chemical compound or waste from certain
industrial processes 40 C.F.R. § 261 .31. A second method of identifying hazardous waste is by its
` characteristics Waste can be hazardous if it exhibits the characteristic of ignitability, corrosivity,
reactivity, or toxicity as defined by RCRA. 40 C.F.R. §§ 261 .20 through 261.24.

12. For example, a hazardous waste exhibits the characteristic of corrosivity when a
representative sample of the waste has a pH less than or equal to 2 or greater than or equal to 12.5,
as determined by a pH meter. 40 C.F.R. § 260.11. And, a hazardous waste exhibits the
characteristic of toxicity if the Toxicity Characteristic Leaching Procedure (TCLP) determines that
the waste meets the toxicity definition. The corresponding Hazardous Waste Regulation, 40 C.F.R.
§ 261.24, outlines the 40 contaminants the TCLP analysis tests for to determine if the Maximum
Concentration of Contaminants for Toxicity Characteristic is met. If a solid waste fails the test for
one or more of these compounds, the waste is considered to be a characteristic hazardous waste.
For example, the regulatory level for heavy metal Cadmium is 1.0 mg/L.

13. Among other things, RCRA requires a generator of solid waste to determine if that
waste qualifies as a hazardous waste, and if so, to provide for its proper storage, transportation,
treatment, and disposal. 40 C.F.R. § 262.11.

' 14. Recognizir-ig that generators produce waste in different quantities EPA has
established different categories of generators in the regulations The volume of hazardous waste
each generator produces in a calendar month determines which regulations apply to that generator.
For example, a Large Quantity Generator (LQG) is one that generates 1,000 kilograms or more

per month of hazardous waste (or more than one kilogram per month of acutely hazardous waste).

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In general, LQGs may only accumulate hazardous waste on-site for 90__ days without a permit but,
otherwise, must obtain a RCRA perrnit. 40 C.F.R. § §262.34(b).

15. RCRA also requires that containers used to store regulated hazardous wastes be in
good condition, be compatible with the waste, be closed, except when adding or removing waste,
and be adequately labeled as to their contents and storage dates 40 C.F.R. §§ 264.170-179.

16. Generators of hazardous waste are required to properly dispose of their waste at a
disposal facility, known as a Treatment, Storage and Disposal (“TSD”) facility, that is licensed
and permitted under law to receive hazardous wastes 40 C.F.R. §262.12.

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of any hazardous materials either without a permit or in violation of a permit. 42 U.S.C. §
6928(d)(2)(A).

PROBABLE CAUSE

18, Haven Corporation, also known as Haven Chemical Corporation, Haven
_ Corporation Profit Sharing, and Haven Corp, was a business owned and operated by Kinloch N.
Yellott III, located at 6624 - 6630 Quad Avenue, Baltimore, MD 21237, that created electronic
printed circuit boards, inks, adhesives, and flooring epoxies According to the City of Baltimore,
Kinloch N. Yellott is the listed property owner of 6624 - 6630 Quad Avenue, Baltimore, MD. See
Attachment A for a detailed property description

19. Eagle Creek Fuel Services, LLC was a company operating at 6630 Quad Avenue
from October 2007 until October 2012 according to one of the owners, Joseph Kirby, In an
interview with Kirby, he stated that he partnered with Kinloch Yellott III to create Eagle Creek -
Fuel Services, LLC, a company operating at 6630 Quad Avenue from October 2007 until October

2012.

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20. On April 11, 2018, the owner of an adjacent business at 6640 Quad Avenue, called
the Baltimore City Code Enforcement Office to complain of waste oil leaking from 6630 Quad
Avenue onto their business property.

21. On April 13, -2018, EPA-CID received information from the Maryland Attorney
General’s Environmental Crimes Office that approximately one-hundred 55-gallon drums of
unknown materials had been abandoned at a site located at 6630 Quad Ave., Baltimore, MD.

22. ln an interview with EPA-CID on April 25, 2018, Yellott stated that the property
in question consists of 6624 Quad Avenue and 6630 Quad Avenue. Yellott also claimed that he
walked away from the property approximately twenty months to two years ago. Finally, Yellott
said that flammable materials could still be inside of the property.

23. According to Kirby, Eagle Creek was collecting used waste vegetable oil (WVO),
and attempting to refine it and produce saleable and marketable biodiesel. He also stated that
chemicals such as glycerin, potassium hydroxide and methanol were part of the process of creating
biodiesel.

24. On May 2, 2018, Baltimore City Department , of Housing and Community
Development, Special Investigations Unit (DHCD-SIU) conducted a search on the property
pursuant to an administrative warrant. They were assisted by personnel from the Baltimore City
Fire Department (BCFD) Hazmat Unit, the Mayor’s Office of Emergency Management and a
Baltimore City Department of Housing Inspector. During the warrant, Investigators observed and
took photographs of, but not limited to, Material Safety Data Sheets, business records, invoices,
utility bills, shipping labels, tax records and printed emails. BCFD observed and reported that
over one-thousand 55-gallon drums existed on the property, some drums were labeled as hazardous

and/or flammable chemicals BCFD also deemed the building tobe abandoned and an unsafe

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structurel

25. Continuing on the same day, an Investigator with the Baltimore City Department
of Housing recalled seeing at least two desktop computers in the offices of 6624 _ 6630 Quad
Avenue. 7

26. On May'24, 2018, the EPA’s On Scene Coordinator (OSC) -- the federal Superfund
official responsible for monitoring or directing responses to threats or actual releases of oil spills
and hazardous substances reported to the federal government -- met with the property owner
Yellott. They conducted a walk-through of the premises along with an investigator from the
Baltimore City DHCD-SIU, and representatives from .MDE and EPA’s Superfund Technical
Assessment & Response 'I`eam (START) contractors Based on the property inspection along
with information previously obtained from the city and state, the OSC recommended a Superfund
removal action.

27. RCRA requires that containers used to store regulated hazardous wastes be in good
condition, be compatible with the waste, be closed, except when adding or removing waste, and
be adequately labeled as to their contents and storage date(s). The chemicals left by Haven and
, Eagle Creek at the premises were not stored in accordance with RCRA storage requirements

28. On August 2, 201 8, U.S. Magistrate Judge J. Mark Coulson issued an
administrative warrant authorizing the performance of limited response action to allow E`PA to
mitigate threats at the Site. On August 8, 2018, EPA and its Emergency and Rapid Response
Services (ERRS) cleanup contractor mobilized equipment and personnel to the site.

29. lOn November 6, 2018, an EPA OSC informed EPA-CID that their hazardous
category results identified more than 1,100 containers, most of which are SS-gallon drums

During inventory, an EPA OSC sampled and tested approximately sixty-six containers which were

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found to have acidic material with a pH balance of less than three, some of which were also
flammable; approximately twelve containers which were found to be a caustic liquid with a pH
balance greater than twelve; and approximately one-hundred and ninety-four containers which
were found to be a flammable material.

30. Based on the number of containers observed on the premises, Haven Corporation
and Eagle Creek appear to be Large Quantity Generators (LCG) of hazardous waste. The
premises did not at any time have an EPA permit under Title 42, United States Code, § 6925, to
store, treat or dispose of hazardous waste.

SPECIFICS OF SEARCI-I AND SEIZURE OF
COMPUTER SYSTEMS AND OTHER MEDIA

31. Based upon my training, experience, and information related to me by agents and
n others involved in the forensic examination of computers,- your Affiant knows that computer data
can be stored on a variety of systems and storage devices including hard disk drives, floppy disks,
compact disks, magnetic tapes and memory chips Your Affiant also knows that during the search
of the premises it is not always possible to search computer equipment and storage devices for data
for several reasons, including the following:

a. Searching computer systems is a highly technical process which requires
specific expertise and specialized equipment There are so many types of computer hardware and
software in use today that it is impossible to bring to the search site all of the technical manuals
and specialized equipment necessary to conduct a thorough search. In addition, it may also be
necessary to consult with computer personnel who have specific expertise in the type of computer,
software application or operating system that is being searched.

b. Searching computer systems requires the use of precise, scientific

procedures which are designed to maintain the integrity of the evidence and to recover “hidden,”

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erased, compressed, encrypted or password-protected data. Computer hardware and storage
devices may contain “booby traps” that destroy or alter data if certain procedures are not
scrupulously followed. Since computer data is particularly vulnerable to inadvertent or
intentional modification or destruction, a controlled environment, such as a law enforcement
laboratory, is essential to conducting a complete and accurate analysis of the equipment and
storage devices from which the data will be extracted.

c. The volume of data stored on many computer systems and storage devices
will typically be so large that it will be highly impractical to search for data during the execution
of the physical search of the premises A single megabyte of storage space is the equivalent of 500
double-spaced pages of text. A single gigabyte of storage space, or 1,000 megabytes, is the
- equivalent of 500,000 double-spaced pages of text. Storage devices capable of storing 160
gigabytes (GB) of data are now commonplace in desktop computers Consequently, each
non-networked, desktop computer found during a search can easily contain the equivalent of 80
million pages of data, which, if printed out, would completely fill a 35’ x 35’ x 10’ room to the
ceiling. Further, a 160 GB drive could contain as many as approximately 150 full run movies or
150,000 songs

d. Computer users can attempt to conceal data within computer equipment and
' storage devices through a number of methods, including the use of innocuous or misleading
filenames and extensions Fdr example, files with the extension “.jpg” often are image files;
however, a user can easilychange the extension`to “.txt” to conceal the image and make it appear
that the file contains text. Computer users can also attempt to conceal data by using en'cryptionJ
which means that a password or device, such as a “dongle” or “keycard,” is necessary to decrypt

the data into readable form. In addition, computer users can conceal data within another

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seemingly unrelated and innocuous file in a process called “steganography.” For example, by using
steganography a computer user can conceal text‘in an image file which cannot be viewed when the
image file is opened. Therefore, a substantial amount of time is necessary to extract and sort
through data that is concealed or encrypted to determine whether it is evidence, contraband or
instrumentalities of a crime.

32. Based on your Affiant’ s experience and his consultation with other agents who have
been involved in computer searches, searching computerized information for evidence or
instrumentalities of a crime often requires the seizure of all of a computer system’s input and
output peripheral devices related software, documentation, and data security devices (including
passwords) so that a qualified computer expert can accurately retrieve the system’s data in a
laboratory or other controlled environment There are several reasons that compel this
conclusion:

a. 1 The peripheral devices that allow users to enter or retrieve data from the
storage devices vary widely in their compatibility with other hardware and software. Many
system storage devices require particular input/output devices in order to read the data on the
system. It is important that the analyst be able to properly re-configure the system as it now
operates in order to accurately retrieve the evidence listed above. In addition, the analyst needs
the relevant system software (operating systems, interfaces, and hardware drivers) and any
applications software which may have been used to create the data (whether stored on hard drives
or on external media), as well as all related instruction manuals or other documentation and data
security devices; and

b. In order to fully retrieve data from a computer System, the analyst also needs

all magnetic storage devices, as well as the central processing unit (CPU). In cases like the instant

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one Where the evidence consists partly of image files, the monitor and printer are also essential to .;
show the nature and quality of the graphic images which the system could produce. Further, the
analyst again needs all the system software (operating systems or interfaces, and hardware drivers)
and any applications software which may have been used to create the data (whether stored on
hard drives or on external media) for proper data retrieval.

33. Your Affiant will involve the use of computer forensic examiners while executing
warrants at the respective locations, in an attempt to image any and all computer-related media,
software and servers on-site. Based upon the size and number of devices encountered, however,
it may not be entirely possible to image everything on-site. ln the event that a device cannot be
imaged on-site, the device will be imaged off-site at a forensic computer lab in the most expedient
manner possible. While your Affiant cannot guarantee the actual length of time it will take to
image a device(s) off-site, your Affiant believes that four (4) weeks would be a reasonable time
frame to accomplish this task.

CONCLUSION

` 34. Based on your Affiant’s training and experience, as well as the evidence set forth
above, your Affiant believes that probable cause exists that the items described on Attachment
B will be found within the subject premises identified in Attachment A. . The items listed on
Attachment B constitute evidence, fruits and/or instrumentalities of alleged violations of (a)
the Resource Recovery and Conservation Act, for the illegal storage of hazardous waste
Without a permit or in violation'of a permit, 42 U.S.C. § 6928(d)(2)(A).

WHEREFORE, in consideration of the facts presented, your Affiant respectfully requests

that the Court issue a search warrant for the location identified in Attachment A to this Affidavit

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allowing Special Agents of the Environmental Protection Agency- Criminal lnvestigation
Division, other federal, state or local agencies to include all required support personnel, including
contractors to search, photograph, sample, image and seize the items further described in

Attachment B to this Affidavit.

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_ Sworn to before me this l day of November, 2018.

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~'1; z $."\'l,.iri
Stephan`i_e list Gallagher
United States Magistrate Judge

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ATTACHMENT A
Description of Pronertv to be Searched

The premise known as Haven Corporation is located at 6624 - 6630 Quad Avenue,
Baltimore, Maryland 21237. The premise consists of two commercial buildings on the property;
one to the east at 6630 Quad Ave, and one to the west at 6624 Quad Avenue. The two buildings
are predominantly one-story warehouses approximately 12,800 square feet and consist of offices,
a laboratory, packaging space, warehouses a break room, and a storage trailer in the rear. The two
buildings are joined by a shared loading dock. Around the buildings is an area of overgrown grass
l and pavement where numerous storage containers and automobiles sit. There is a large blue and
white sign on the front of the building with the company name “HAVEN” next to a blue front
entrance door with the numbers “6630” above it. With the exception of a paved parking lot in the
f`ront, the property is surrounded by fencing on all sides The location has also been identified by
Latitude/ Longitude 39.301623 / -76.534290.

See attached photograph of site below:

 

 

 

 

 

 

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Items to be Seized _ Attachment B

A. Records and other items relating to Haven Corporation and Eagle Creek Fuel Services

LLC.

l. All financial records including but not limited to accounting records tax records
accounts receivable and payable logs and ledgers balance sheets profit and loss statements
banking records real estate records and other records reflecting income and expenditures of Haven

Corporation and E-agle Creek Fuel Services, LLC.

2. Any and all documents sufficient to show bank accounts escrow accounts credit
card accounts brokerage accounts off-shore accounts trust accounts security deposit boxes and

other financial accounts of Haven Corporation and Eagle Creek Fuel Services, LLC.

3. Any Material Safety Data Sheets (“MSDS”), AKA Safety Data Sheeis for

hazardous and non-hazardous substances stored or used at the Site;

n 4. All chemical purchases chemical sales, and waste manifest
5. All laboratory testing involving Haven Corporation and Eagle Creek Fuel Services,
LLC.
6. All Company policies protocols, procedures operating manuals training records

directions or instructions for metal plating or treatment and records relating to employee training

and supervision

7 All permits applications for permits licenses application for licenses pertaining to
waste generation, treatment, storage, management or disposal, and transportation of waste

materials to and/or from this site

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8. All memoranda, internal communications manifests notes invoices operational
instructions hazardous Waste determinations and/or characterizations or other documents relating

to the generation, treatment, storage, disposal or management of waste materials at this site.

9. All shipping documents manifests freight bills memoranda of shipments bills of
lading and all other shipping related documents related to the transportation of waste materials to

or from this site.
10. Any and all cellular telephones used by Kinloch Yellott Ill and Joseph Kirby.

B. Samples

Samples of materials in containers drums vats tanks sewer lines storm lines floor drains
materials on the grounds or otherwise identify RCRA violations and associated plumbing, that

could also identify violations of RCRA andfor CWA violations

C. Computer(s) and any data storage devices including DVDs CDs flash drives floppy
diskettes fixed hard drives removable hard disks and/or memory devices of any form, computer
hardware, hard drive(s) from copying machines software, servers, and related documentation,
passwords data security devices (as described below), videotapes video recording devices video
recording players monitors and or televisions flatbed scanners and data that may contain any of

the items enumerated in paragraphs l (A-N).

1. The computers may be searched for any of the items described in paragraphs A. (1-
10) above which are' stored in the form of magnetic or electronic coding on computer media or on
media capable of being read by a computer with the aid of computer-related equipment, including
floppy diskettes, fixed hard disks or removable hard disk cartridges software or memory any

form.

2. With respect to the search of any digitally/electronically stored information that is
seized pursuant to this warrant, the search procedure shall include such reasonably available

techniques designed to minimize the chance that the Government investigators conducting the

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search will view information that is beyond the scope for which probable cause exists The
following list of techniques is a non-exclusive list which illustrates the types of search
methodology that _may avoid an overbroad search, and the government may use other procedures
that, like those listed below, minimize the review of information not listed within the items to be

seized herein:

a. Use of computer search methodology to conduct an examination of all the
data contained in such computer hardware, computer software, servers and/or memory storage
devices to determine whether that data falls within the items to be seized as set forth herein by

specific date ranges or names of entities and individuals

b. Searching for and attempting to recover any deleted, hidden, or encrypted
data to determine whether that data falls within the list of items to be seized as set forth herein;
Physical examination of the storage device, including digitally surveying various file directories
and the individual files they contain to determine whether they include data falling within the list

of items to be seized as set forth herein;

c. Opening or reading portions of files that are identified as a result of
conducting digital search inquiries in order to determine whether their contents fall within the

items to be seized as set forth herein;

d. Digitally scanning storage areas to discover data falling within the list of
items to be seized as set forth herein, to possibly recover any such deleted data, and to search for

and recover files falling within the list of items to be seized; and/or

e. Performin g key word or similar searches through all electronic storage areas
to determine whether occurrences of language contained in such storage areas exist that are likely

to appear in the evidence described herein

